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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

IN RE:                                          )
                                                )       Case No. 18-20392-KHT
James Edward Jaramillo,                         )
Mandy Michelle Jaramillo                        )       Chapter 13
                                                )
   Debtors.                                     )

              ORDER ABANDONING RESIDENCE FROM BANKRUPTCY ESTATE


         UPON CONSIDERATION of the Debtors’ Motion to Abandon their Residence from the
Bankruptcy Estate, no sustainable objections having been filed, and for cause shown,
         IT IS HEREBY ORDERED that:
         1.     The Motion is GRANTED.
         2.     The Debtors’ residence located at 13751 Elizabeth Street, Thornton, Colorado 80602 is
hereby abandoned from the bankruptcy estate pursuant to Bankruptcy Code § 554.


July 26, 2019                                                   BY THE COURT:




                                                                __________________
                                                                                _ ______________
                                                                ________________________________
                                                                Honorable Kimberley H. Tyson
                                                                United States Bankruptcy Judge
